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October 31, 2023
Via: Overnight Mail and email

Yellow Corporation, et al., '
Attn: General Counsel

11500 Outlook Street, Suite 400
Overland Park KS 66211

Re: YELLOW CORPORATION, et al., ' v Debtors.
Chapter 11
Case No. 23-11069 (CTG)
Non-Rolling Stock Asset Cure Objection

United States Bankruptcy Court for the District of Delaware and Yellow Corp.:

Richardsons Properties LLC, by submission of this letter, hereby objects to the United States
Bankruptcy Court’s for the District of Delaware (“Court”) September 15, 2023, Non-Rolling Stock Asset
Cure Order. Specifically, the involvement of the lease of 101 Lexington Avenue, Suite 4 Cheyenne, WY
82007 between Yellow Corp., Lessee, and Richardsons Properties LLC., Lessor in the aforesaid order.

Yellow Corp. violated the above referenced lease by both failure to pay rent and by filing for
bankruptcy. Both of these violations still exist as of the date of this letter.

Richardsons Properties LLC respectfully requests that the “cure” to the above listed violations is the
immediate termination of the lease agreement between the parties and the removal of all Yellow Corp.
assets still located on or in the premises stipulated in the lease agreement by November 9, 2023.
Further, Richardsons Properties LLC requests this “cure” as the lease agreement does NOT extend the
right to Yellow Corp to sell this lease agreement or allow the assumption of this lease agreement by a
37 party.

In exchange for the above “cure” Richardsons Properties LLC will: “forgive” rent owed to Richardson
Properties LLC of $3,450.00; “forgive” any further rent that may become due and payable under said
lease after that owed on October 31, 2023; “forgive” the cost of damages to the premises listed in said
lease agreement caused by Yellow Corp. Cost of damages has yet to be determined but can be supplied
to the Court and Debtor’s General Counsel if/when requested.

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Please direct responses to this Letter to:
Randall Richardson, President, Richardsons Properties, LLC (randy@rciwyo.com)

and/or

Thomas Cotter, Controller, Richardson’s Properties LLC. 1

101 Ledington Avenue, #2

Randy aw

cc:

US Bankruptcy Court District of Delaware
Case #23-11069 (CTG)

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